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                                UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF NEW YORK

Edward E. Kopko, Esq.
Edward E. Kopko, Lawyer, P.C.
Attorney for Sarah Crews
308 North Tioga St., Second Floor
City, New York 14850
607.269.1300; 607.269.1301 fax
eek@kopkolaw.com


SARAH CREWS,
                             Plaintiff,
                                                   Docket No. 3:17-CV-213[MAD/DEP]
vs.                                                JURY TRIAL DEMANDED

THE CITY OF ITHACA,
JOHN R. BARBER, Chief of Police,
                Defendants.

                                             COMPLAINT




          SARAH CREWS (Crews), by her attorney, Edward E. Kopko, hereby

complains against the Defendants, City of Ithaca (City), and John R. Barber (Barber)

as follows:


                                          SUMMARY OF ACTION

          1.        Crews is a police officer employed by City.

          2.        Crews is openly gay female and identifies as gender non-conforming.

          3.        Crews alleges that Crews’ employer, the City of Ithaca, by the City

Police Department (“IPD”), discriminated against her based on sex, including her

gender non-conformity and sexual orientation.

          4.        Crews has been forced by discriminatory, hetero-normative and sexual

stereotypical IPD customs and policies to transport and physically search female

prisoners simply because Crews is identified as female. These customs and policies,

as identified more fully herein, are expressly sex-to-sex – e.g. women should deal

with women, men should deal with men.
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       5.     Crews has continually expressed that these customs and policies put

Crews’ employment in jeopardy because female prisoners recognize that Crews is

openly gay and gender-conforming and, on multiple occasions, have threatened to

make false sexual abuse allegations against Crews.

       6.     Worse yet, Crews has expressed that she is forced, unlike her male

peers, into an excessive amount of physical encounters with women simply because

of these discriminatory, stereotypical policies.

       7.     Despite Crews’ objections, the IPD has continued to force Crews to

transport, jail, and physically search female prisoners more often than her

heterosexual male peers who are also on duty. Further, the IPD has stood behind its

outdated, stereotypical, and inherently discriminatory policies when Crews and

those acting on Crews’ behalf have advocated for modern, inclusive policies that

recognize lesbian, gay, bisexual, transgender and/or queer/questioning (“LGBTQ”)

officers and citizens.

                                   DEFINITIONS

       8.     Gender non-conforming refers to a person who does not conform to

society's expectations of gender expression based on the gender binary (either male

or female), expectations of masculinity and femininity, or how a person should

identify their sex.

       9.     Gender refers to the collection of society's assumptions, expectations,

and traditions for how a person of a particular gender is supposed to act and/or be

treated by others.

       10.    Sex refers to the categorization of people at birth into “male,” “female,”

or “intersex” categories based upon physical characteristics such as anatomy,

chromosomes, and hormones.

       11.    Sexual orientation refers to an individual's physical, romantic and/ or

emotional attraction to members of the same and/or opposite sex.


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       12.    Heterosexual refers to people whose enduring physical, romantic,

and/or emotional attraction is to people of the opposite sex.

       13.    Gay refers to people whose enduring physical, romantic, and/ or

emotional attractions are to people of the same sex.

       14.    Hetero-normative is the concept that people fall into distinct gender

categories (man and woman). It presupposes that heterosexuality is the only sexual

orientation or only norm, and assumes that sexual and marital contact only occurs

and/or is only fitting between people of opposite sexes.

                           PARTIES AND JURISDICTION

       15.    At all times relevant hereto, Crews was a resident of New York.

       16.    At all times pertinent herein, the City was and is a municipal

corporation duly organized and existing under the laws of New York State with

principal offices located in City Hall, City of Ithaca, State of New York.

       17.    At all times pertinent herein, the defendant, the City operated and

oversaw IPD, a law enforcement department of the City.

       18.    Upon information and belief, at all times pertinent herein the City, in

the person and employee of IPD Police Chief, John R. Barber (Barber), is and was a

resident of Tompkins County with principal offices located at 120 E Clinton Street,

City, New York 14851.

       19.    Barber is sued in his individual capacity and official capacity as a

policy-maker of the City and as a person who was directly responsible for the

discriminatory conduct stated in this complaint.

       20.    The City, wherein the events or omissions giving rise to the claims

occurred, is within the jurisdiction of the United States District Court, Northern

District of New York. Accordingly, venue is proper under 28 USC § 1391(b)(2) and

related provisions.




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       21.    On or about August 11, 2016, Crews properly filed a complaint for

sex discrimination against defendants with the U.S. Equal Employment

Opportunity Commission (Buffalo, New York office).

       22.    On November 28, 2016, the EEOC issued the Notice of Right to

Sue. Pursuant to this notice, and within 90 days of receiving the same notice,

Crews files this lawsuit.



                                         FACTS

       23.    Crews has been a law enforcement officer for over fifteen (15) years and

she began employment with the IPD in 2007.

       24.    Crews has always been an openly gay law enforcement officer.

       25.    Crews has never conformed to sex stereotypes.

       26.    While some employees in the IPD have been accepting of her sexual

orientation and non-conforming gender characteristics, others have insidiously

bullied her for her appearance and affect.

       27.    As well as the recent events that this complaint addresses, Crews has

also suffered historical discrimination in her employment at the IPD.

       28.    In her time at the IPD, when she was a recent hire, at least one fellow

officer from her night shift posted a fake “McLovin” driver’s license photo in the

men’s locker room.

       29.    The posting had a photograph of Crews’s face superimposed on the

driver’s license, and the “McLovin” reference was based on an “uncool” sex-obsessed

male character in the movie Superbad.

       30.    Two officers were ultimately disciplined for this “McLovin” event.

       31.    IPD policy requires uniformed police officer to wear a uniform, with a

hat, and options include wearing a tie, however, in actual practice and custom the

majority of police officers do not wear a tie with a uniform.

       32.    Crews chooses to regularly wear a tie with the uniform.
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       33.       Crews’ use of the tie, a traditionally male article of clothing, further

exacerbates the implicit and subtle discriminatory behavior and bias of her peers

because it further triggers the gender and sexual orientation stereotypes when a

female and lesbian officer wears a traditionally male article of clothing.

       34.       Further, in Crews’ time at the IPD, some fellow officers have referenced

Crews as looking like a “bus driver” when Crews wears a police hat and full

uniform.

       35.       In general, and in specific reference to her uniform, IPD officers have

used non-verbal cues and behaviors to exclude Crews from the peer group.

       36.       Whenever Crews has brought the aforementioned concerns of

discrimination to her superiors, including Barber, they have ignored the concerns,

inappropriately and ineffectively disciplined the offending officers or engaged in

victim-blaming of the Crews.

       37.       In 2011, IPD policies for searching and transporting prisoners were

modified. The transport policy includes:

                “Whenever possible, officers of the same gender as the prisoner will
                 transport prisoners. Officers transporting prisoners of the opposite
                 gender will notify the 911 Center of their destination, and starting and
                 ending mileage. They will proceed without delay on the most direct
                 route, and will notify the 911 Center of any delays encountered.” (City
                 Police Department, GO-3019, Re: Prisoner Transport and Security,
                 Section III [Procedures for transporting prisoners – Transportation
                 Procedures] eff. 3/22/11).

The search policy includes:


                “Searching of a female prisoner shall be accomplished by an on-duty
                 female police officer, or other qualified female person when possible. If
                 there is not a qualified female available the shift commander will be
                 notified to make arrangements to provide one. The prisoner will
                 remain secured and under constant supervision until a female officer
                 can complete the search.” City Police Department, GO-3020, Re: City
                 Jail Regulations, Procedures, Section III[4] [Admission Procedures]). …


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               “A search incident to arrest should generally be conducted by an officer
                of the same gender. If an officer of the same gender is not present,
                notify the Shift Commander in order to make arrangements to provide
                one. The prisoner will remain secured and under constant supervision
                until an officer of the same gender can complete the search.” (City
                Police Department, GO-3019, Re: Prisoner Transport and Security,
                Section III [Procedures for transporting prisoners – Vehicle and
                Prisoner Searches] [eff. 3/22/11).

      38.       Further, the IPD also has supervision policies for the jail, to wit:


                “Supervision of female prisoners shall be accomplished by a female
                jailer and a female prisoner shall not be placed in or removed from a
                detention area unless the female jailer is present. The female jailer shall
                retain the key for the detention area unless the female jailer is present.
                The female jailer shall retain the key for the detention area for females
                and no male person shall be permitted to enter an area where female
                prisoners are detained unless accompanied by the female jailer.”


      39.       The aforementioned policies, as well as the policies that preceded them,

concerned Crews because they relied on a hetero-normative ideology and subjected

Crews to this framework, in which she did not fit because Crews is gender-

nonconforming.

      40.       Per the policies and the offspring of the policies, the IPD forces Crews,

of non-conforming gender, to transport, search, and otherwise monitor female

prisoners more frequently than male officers.

      41.       As an example, IPD employees cite these policies when requesting

and/or ordering Crews to take female prisoners to the restroom.

      42.       As another example, IPD employees cite these policies when requesting

and/or ordering Crews to physically search a female arrestee.

      43.       Like many police departments, the IPD has an overwhelmingly male

heterosexual staff, but the population they deal with is a more even mix of men and

women.


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      44.    In execution, by citing and leveraging the plain language of these

hetero-normative policies, IPD employees have placed Crews into an inordinate

amount of compromising situations wherein Crews is forced into interactions, often

physical, with female prisoners while male IPD employees avoid these interactions.

      45.    In March 2011, Crews’ concerns were exacerbated by an encounter she

had with a female prisoner.

      46.    In this March 2011 encounter, Crews was assigned to supervise the

prisoner only because Crews was the only officer available who the IPD identified as

female. This prisoner harassed Crews, saying Crews’ prisoner checks were sexually

motivated in frequency.

      47.    The prisoner also threatened to fabricate sexual harassment allegations

against Crews. At one point, the female prisoner began masturbating in Crews’

presence and said, “Hey big gay woman, you want some of this? I’m gonna make it

up that you did something to me.”

      48.    After this encounter, Crews began voicing concerns to superiors

identifying that these sex-to-sex, stereotypical policies were close-minded and failed

to recognize and protect LGBTQ officers and citizens. In the following years, Crews

made dozens of verbal complaints about these policies when these policies were

cited by fellow employees.

      49.    On May 29, 2015, Officer Crews gave her formal notice of her objection

to the aforementioned policies, emailing Sergeant Banfield and Sergeant Nelson an

email that stated the following:

             “Sgt Banfield

             I am giving you formal notice of my objection to my functioning as
             jailer to female prisoners, as required under GO-3020, City Jail
             Regulations. Male officers are prohibited from jailing female prisoners,
             for reasons you claim not to know. This regulation presumably
             protects male officers from allegations of improper contact (implicitly
             sexual contact) with female prisoners. This policy is discriminatory
             because it provides protections to my heterosexual male coworkers that
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               it fails to provide to me as an openly, and obviously, gay female.

               On more than one occasion I have been directly threatened by female
               prisoners who have told me they would fabricate claims against me. I
               have tolerated this for years, and have verbally brought my concerns to
               supervisors. I have been ridiculed and treated with hostility because I
               expressed my concerns. I have reached the point where I can no longer
               tolerate this situation.

               As IPD is reworking the General Orders during the accreditation
               process, it would be an ideal time to review the policy and find a
               workable solution to this issue. I expect that if the administration sees
               fit, reasonable accommodations can be made to protect my rights.

               Please bear this in mind when assigning jail duties to me in the future.

               Ofc Crews”


         50.   In the month following this formal notice, Crews was more frequently

assigned to her non-preferred beats – a beat that was at the bottom of her list of

requested beats.

         51.   There are five primary beats covered by the IPD – four car beats and

one walking beat.

         52.   IPD officers regularly request their beat preferences, and the beat

preferences vary amongst the officers.

         53.   In June and July of 2015, the IPD retaliated against Crews for

complaining about the discriminatory, stereotypical policies by assigning her to beats

she did not prefer nor request.

         54.   In the forty days prior to Officer Crews’ email to Sergeant Banfield,

Crews was scheduled off Crewss preferred 204-beat four times; in the forty days

following Crews’ email, Crews was scheduled off Crews’ preferred 204-beat fourteen

times.

         55.   On July 29, 2015 at approximately 5:30 am, Crews was on patrol and

was called in to take a female prisoner to the restroom.

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       56.    When she arrived, Crews found that a male officer had already taken

the female prisoner to the restroom.

       57.    Crews vented her frustration to her Sergeant, explaining, again, that

she found the jail and search policies discriminatory because she was, from a sexual

orientation standpoint, in the exact same position as the heterosexual male officers.

       58.    As she vented her frustration to the Sergeant, Crews was particularly

distraught because the IPD had recently assigned her a string of non-preferred beats

because she had complained of its hetero-normative policies.

       59.    Crews expressed that, notwithstanding Crews’ sexual orientation and

gender-nonconformity, Crews was forced to have an inordinate amount of physical

encounters with female prisoners.

       60.    Sergeant Nelson then accused Crews of trying to get out of work,

claiming that Crews was barring herself from searching and jailing men and women.

Nelson’s claim was patently false.

       61.    Crews always searches and jails women when necessary and Crews has

expressed no objection to searching and jailing men, but the policy states searches

should be by the same gender when possible and at no time should female officers

jail male inmates.

       62.    At no time has Crews ever been prohibited from searching a male.

       63.    By the end of this confrontation in July 2015, Nelson had accused

Crews of insubordination.

       64.    On October 14, 2015, as a result of the confrontation on July 29, 2015,

Crews received a notice of discipline charging her with violation of the IPD’s

insubordination policy and courtesy policy.

       65.    IPD issued the aforementioned insubordination charge against Crews

because she spoke out against its discriminatory policies.

       66.    Since receiving the first notice of discipline, Crews has not wavered in

her open objections to the IPD’s discriminatory, hetero-normative policies.
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       67.    On June 6, 2016, shortly after 9:00 pm, Sergeant Nelson called Crews

into IPD headquarters to perform a search of a female prisoner.

       68.    Upon arriving at headquarters, Crews saw a host of male heterosexual

officers available to search the prisoner.

       69.    There and then, Crews realized that the IPD was using the stereotypical

policies to highlight her gender-nonconformity, ostracize her from her peer group,

make her uncomfortable, and discriminate against her. Crews started crying.

       70.    A male lieutenant saw Crews crying, approached her, and repeatedly

asked her to come to his office, never directing Crews to commence a physical search

of the female prisoner.

       71.    Once Crews was in the lieutenant’s office, the lieutenant told her that

he was her superior officer for the shift and he did not reiterate, in any way, that

Crews must still search a female prisoner on the premises.

       72.    At no point on June 6, 2016 did anyone tell Crews that she was being

insubordinate or discourteous.

       73.    Nonetheless, on July 27, 2016, Crews was issued another notice of

discipline which alleged that she violated IPD Rules and Regulations pertaining to

insubordination and courtesy for her actions on June 6, 2016.

       74.    As indicated previously, Crews never refused to perform this search on

June 6, 2016; she was simply too upset to immediately enact it when she arrived at

headquarters and then she was redirected to her lieutenant’s office.

       75.    IPD’s act of generating this notice of discipline of July 27, 2016 is

evidence of the retaliation Crews has suffered, and continues to suffer, because she

has spoken out against the discriminatory, hetero-normative policies.

       76.    Further, this same notice of discipline from July 2016 also charged

Crews with insubordination and discourtesy for a situation that occurred on April

18, 2016, more than three months prior.


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       77.    Upon information and belief, the IPD leveraged this additional notice

against Crews as another means of retaliation.

       78.    The additional charge regarded conversations Crews had with a

sergeant for using the f-word.

       79.    The IPD has no custom or practice of otherwise penalizing officers for

using the f-word amongst themselves.

       80.    Dialogue between IPD employees, as in most police departments, can

be coarse at times, but that coarseness, unless it becomes extreme, is not customarily

penalized by the IPD.

       81.    Crews’ notice of discipline for using the f-word is an anomaly, and, as

such, is evidence of the retaliation she continues to suffer.

       82.    During all times Crews has asked the IPD to address LGBTQ

protections and/or acknowledgments in its policies, the IPD and the City have shown

no substantive interest or effort to modify the discriminatory policies.

       83.    On June 12, 2016, Lieutenant Jeffrey Cole and Sergeant Matthew Cowen

told Crews that if she wanted new policies, she should propose and write them

herself by the end of the month.

       84.    Crews told them that she did not have the legal qualifications or

training to propose language for modern policies.

       85.    Crews asked that the IPD to obtain assistance in writing these policies

from someone who was legally qualified and trained.

       86.    Upon information and belief, the City of City has recently hired a

consultant to update the IPD policy manual for New York State accreditation, but the

City has not used this consultant in modifying the discriminatory, hetero-normative

policies.

       87.    Further, upon information and belief, Crews’ Union attorney, proposed

to the City’s Legal Counsel that, as a means of resolving the discipline charges, the

City create a committee (which would include Crews) to create policies that protect
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against the sexual orientation and gender and sex discrimination of arrestees and

police officers.

       88.     Attorney Grant highlighted to the City’s Legal Counsel that the Albany

Police Department has started taking such initiative to update their policies for

LGBTQ protections, including, within their policies, definitions for gender, sexual

orientation, gender identity, transgender, gender nonconforming and intersex.

       89.     The City ignored Attorney Grant’s proposal of adding LGBTQ

protections to its policies.

       90.     Upon information and belief, the City continues to ignore such LGBTQ-

friendly policy updates despite receiving a low ranking recently from the Human

Rights Campaign (the largest LGBTQ civil rights organization in the United States)

for LGBTQ-friendly legislation.

                    FIRST CAUSE OF ACTION
  SEX DISCRIMINATION UNDER TITLE VII (GENDER NONCONFORMITY)

       91.     Crews incorporates herein by reference the allegations set forth in the

preceding paragraphs.

       92.     Crews is gender-nonconforming and does not and cannot conform with

sex stereotypes that are placed upon her sex.

       93.     At all times pertinent herein, the City is an employer as that term is

more fully defined in Title VII of the Civil Rights Act (42 U.S.C. § 2000e).

       94.     Crews is an employee of the defendants.

       95.     At all times pertinent herein, the City and Barber tolerated, condoned

and/or participated in the previously described discriminatory actions and omissions

against the Crews because Crews was gender-nonconforming and failed to fit, like

many officers in the IPD, into the sex stereotypical and hetero-normative policies of

the IPD.

       96.     As a result of the foregoing, the City and Barber discriminated against

Crews on the basis of Crews’ sex, and, among other things, discriminated against the
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compensation, terms, conditions, or privileges of employment of Crews because of

Crews’ sex.

       97.    The discrimination against Crews is continuing in nature, with the

discriminatory, stereotypical, hetero-normative policies remaining active and

binding in the IPD.

       98.    As a result of the foregoing, the City and Barber engaged in unlawful

practices as that term is defined in Title VII of the Civil Rights Act.

                    SECOND CAUSE OF ACTION
     SEX DISCRIMINATION UNDER TITLE VII (SEXUAL ORIENTATION)

       99.    Crews incorporates herein by reference the allegations set forth in the

preceding paragraphs.

       100.   Crews is an openly gay officer in the IPD and has always been

recognized by her peers and public as the same, and she is gender-nonconforming

and does not and cannot conform with sex stereotypes that are placed upon her sex.

       101.   At all times pertinent herein, the City is an employer as that term is

more fully defined in Title VII of the Civil Rights Act (42 U.S.C. § 2000e).

       102.   Crews is an employee of the defendant.

       103.   At all times pertinent herein, the City and Barber tolerated, condoned

and/or participated in the previously described discriminatory actions and omissions

against the Crews because Crews was gender-nonconforming and failed to fit, like

many officers in the IPD, into the sex stereotypical and hetero-normative policies of

the IPD.

       104.   As a result of the foregoing, the City and Barber discriminated against

Crews on the basis of Crews’ sex, and, among other things, discriminated against the

compensation, terms, conditions, or privileges of employment of Crews because of

Crews’ sex and sexual orientation.




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       105.   The discrimination against Crews is continuing in nature, with the

discriminatory, stereotypical, hetero-normative policies remaining active and

binding in the IPD.

       106.   As a result of the foregoing, the City and Barber engaged in unlawful

practices as that term is defined in Title VII of the Civil Rights Act.

                            THIRD CAUSE OF ACTION
                          RETALIATION UNDER TITLE VII

       107.   Crews incorporates herein by reference the allegations set forth in the

preceding paragraphs numbered 1 through 104.

       108.   From 2011 onward, on a continuing basis and as explained in the

foregoing, Crews has complained of the City’s stereotypical, hetero-normative IPD

policies and identified that they subjected her to sex discrimination.

       109.   Accordingly, Crews complained of unlawful employment practices and

her complaints were protected under federal law.

       110.   As identified in the foregoing, even prior to her filing of the EEOC

complaint on August 11, 2016, defendant and its agents, including Barber, subjected

Crews to adverse employment actions for engaging in a protected activity, including,

but not limited to, changing Crews’s beat assignments, issuing notices of discipline

against her for conduct that the IPD has not traditionally penalized (e.g. using the f-

word in private conversations), and leveraging the stereotypical policies to force

Crews into uncomfortable scenarios and highlight the concept that Crews could not

cope well in the stereotypical environment that her peer group embraced.

       111.   The City and Barber made these adverse actions against Crews, and

Crews suffered from these actions, because Crews spoke out against defendant’s

unlawful employment actions.

       112.   Based on the foregoing, the City and Barber committed retaliation

under 42 USC § 2000e-3 and related provisions.


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                           FOURTH CAUSE OF ACTION -
                         HOSTILE WORK ENVIRONMENT
       113.     Crews incorporates herein by reference the allegations in the preceding

paragraphs.

       114.     Crews was an employee of defendants.

       115.     Based on the foregoing actions by all defendants and its agents against

Crews, a reasonable person would judge that Crews’ workplace was permeated with

discriminatory intimidation, ridicule and insult that was sufficiently severe and

pervasive as to alter the conditions of Crews’ employment.

       116.     A reasonable person would find defendant’s aforesaid conduct to be

hostile and abusive.

       117.     Crews in fact perceived such conduct as hostile and abusive.

       118.     Such conduct was performed by defendants and its agents because of

Crews’ sex – i.e. Crews was gender nonconforming and gay – and because defendant

had no willingness or intention to acknowledge and respect Crews’ sex and/or sexual

orientation.

       119.     Accordingly, Crews was subjected to a hostile work environment under

Title VII and related law.

                           FIFTH CAUSE OF ACTION
               SEX DISCRIMINATION IN VIOLATION OF NYHRL § 296

       120.     Crews incorporates herein by reference the allegations in the preceding

paragraphs.

       121.     New York State Human Rights Law (Executive Law) § 296(1)(a) makes

it makes it unlawful “[f]or an employer or licensing agency, because of an

individual's age, race, creed, color, national origin, sexual orientation, military status,

sex, disability, predisposing genetic characteristics, marital status, or domestic

violence victim status, to refuse to hire or employ or to bar or to discharge from

employment such individual or to discriminate against such individual in
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compensation or in terms, conditions or privileges of employment.”

       122.   Crews is gender-nonconforming and does not and cannot conform with

sex stereotypes that are placed upon her sex.

       123.   As a result, and as shown by the foregoing, defendant’s policies and

conduct stemming from the same discriminated against Crews because of Crews’s

sex because they require Crews to comply with sex stereotypical policies within

which she cannot function with her own gender-identity.

       124.   At all times pertinent herein, the defendant, via its agents and

representatives, including Barber, acted knowingly, intentionally, recklessly and/or

with wanton disregard for the rights and privileges of Crews to have equal

employment and non-discriminatory treatment under the law.

       125.   By reason of the foregoing, Crews was discriminated against based on

her sex.

       126.   As a result of the foregoing, the defendants unlawfully discriminated

against Crews and otherwise deprived her of her rights under New York State’s

Human Rights Law.

                    SIXTH CAUSE OF ACTION
 SEXUAL ORIENTATION DISCRIMINATION IN VIOLATION OF NYHRL § 296

       127.   Crews incorporates herein by reference the allegations set forth in the

preceding paragraphs.

       128.   New York State Human Rights Law (Executive Law) § 296(1)(a) makes

it makes it unlawful “[f]or an employer or licensing agency, because of an

individual's age, race, creed, color, national origin, sexual orientation, military status,

sex, disability, predisposing genetic characteristics, marital status, or domestic

violence victim status, to refuse to hire or employ or to bar or to discharge from

employment such individual or to discriminate against such individual in

compensation or in terms, conditions or privileges of employment.”

       129.   As a result, and as shown by the foregoing, defendant’s policies and
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conduct stemming from the same discriminated against Crews because of Crews’

sexual orientation – i.e. because Crews was an openly gay officer in the IPD.

      130.   At all times pertinent herein, the defendant, via its agents and

representatives, acted knowingly, intentionally, recklessly and/or with wanton

disregard for the rights and privileges of Crews to have equal employment and non-

discriminatory treatment under the law.

      131.   By reason of the foregoing, Crews was discriminated against based on

her sexual orientation.

      132.   As a result of the foregoing, the defendant unlawfully discriminated

against Crews and otherwise deprived her of her rights under New York State’s

Human Rights Law.

                        SEVENTH CAUSE OF ACTION
                 RETALIATION IN VIOLATION OF NYHRL § 296

      133.   Crews incorporates herein by reference the allegations set forth in the

preceding paragraphs.

      134.   New York State Human Rights Law (Executive Law) § 296(1)(e) makes

it makes it unlawful “[f]or any employer…. [to] discriminate against any person

because he or she has opposed any practices forbidden under this article [the Human

Rights law]…”

      135.   As a result, and as shown by the foregoing, defendant retaliated and

discriminated against Crews upon Crews speaking in opposition to its sex-

stereotypical and hetero-normative policies.

      136.   At all times pertinent herein, the defendant, via its agents and

representatives, acted knowingly, intentionally, recklessly and/or with wanton

disregard for the rights and privileges of Crews to oppose sex and/or sexual

orientation discrimination in the IPD.

      137.   By reason of the foregoing, defendants retaliated and discriminated

against Crews.
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      138.    This retaliation was demonstrated largely by defendants issuing the

afore discussed disciplinary notices to Crews and by defendant changing Crews’s

beat-assignments to less preferred beats immediately after she formally addressed

her opposition to, and concerns about, the sex and/or sexual orientation

discrimination in the IPD.

      139.    As a result of the foregoing, the defendants unlawfully discriminated

against Crews and otherwise deprived her of her rights under New York State’s

Human Rights Law.

                         EIGHTH CAUSE OF CAUSE
  42 U.S.C. § 1983, FOURTEENTH AMENDMENT, DENIAL OF DUE PROCESS

      140.    Crews incorporates herein by reference the allegations set forth in the

preceding paragraphs.

      141.    42 U.S.C. § 1983 provides a civil cause of action for individuals who are

deprived of any rights, privileges, or immunities secured by the Constitution or

federal laws by those acting under color of state law.

      142.    Crews has stated a claim for relief pursuant to § 1983 in connection

with her sex-based claim of employment discrimination.

      143.    Crews has a right, protected by the Equal Protection clause of the

Fourteenth Amendment, to be free from discrimination on the basis of sex in public

employment.

      144.    Crews has suffered purposeful or intentional discrimination by the City

and Barber on the basis of gender.

      WHEREFORE, on the first, second, third, fourth, fifth, sixth, seventh, and

eighth causes of action, and as a result of the foregoing, Crews demands judgment

against the defendants, jointly and severally:

      a. in an amount of monetary damages for past and future pain and suffering;

      b. in an amount of monetary damages for past and future loss of income;

      c. punitive damages against John Barber;
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       d. an award of attorney fees and costs and expenses;

       e. injunctive relief against the City of Ithaca prohibiting further illegal and

          discriminatory conduct as described in this complaint; and,

       f. for such other and further relief which to the Court is just and proper.

                             DEMAND FOR JURY TRIAL

       Pursuant to FRCP 38, Crews hereby demands a trial by jury in this action on

all claims and issues triable before a jury.




Edward E. Kopko
Edward E. Kopko, Lawyer, P.C.,
Attorney for Sarah Crews
308 N. Tioga Street, Second Floor
Ithaca, New York 14850
607.269.1300; Fax 607.269.1301
eek@kopkolaw.com
Thursday, February 23, 2017




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